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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                  )
                                           )
      v.                                   )
                                           )   Case No. 1:23-cr-0073-CKK
RAYMOND NAVA,                              )
                                           )
                         Defendant.        )

   MOTION IN OPPOSITION TO GOVERNMENT’S EMERGENCY MOTION
    FOR DE NOVO REVIEW OF MAGISTRATE’S RELEASE ORDER AND
 REQUEST TO STAY DEFENDANTS’ RELEASE PENDING DE NOVO REVIEW

      The Court should sustain the Release Order for Raymond Nava, entered by

the Honorable Alicia C. Rosenberg in the Central District of California (Western

Division) on April 26, 2023, and deny the stay of that Order requested by the

United States in its Emergency Motion For De Novo Review of Magistrate’s

Release Order and Request to Stay Defendants’ Release Pending De Novo Review

(“Emergency Motion”).

      Based on representations of California counsel for the Defendant and a

review of an audio recording of the detention hearing for Defendant Max Torres, it

is apparent that the Assistant U.S. Attorney in California and the Assistant U.S.

Attorney in the District of Columbia consulted regarding the case prior to (and

during) the detention hearings, including whether to call the case agents to

testify. The California Assistant U.S. Attorney advised the Court, following a break

in the Torres detention hearing in which she consulted with the agent and the

D.C. Assistant U.S. Attorney, that the government would not call the agent to

testify about items which were seized from the execution of the search warrants.

The government made that decision despite the Court’s comments that the items
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seized on the day of arrest would be relevant to her bond determination, and that

the agent’s testimony would be limited to only the items seized, allaying any

concerns of a “fishing expedition”.1 All the “new” information which appears in

the government’s Emergency Motion was known to the government at the time of

the detention hearing in California.

                                          Discussion

In denying a motion to reconsider a pretrial detention order, this Court held the

following:

       The Court may reopen a detention hearing “at any time before trial” based
       upon a finding “that information exists that was not known to the movant
       at the time of the hearing and that has a material bearing on the issue
       whether there are conditions of release that will reasonably assure the
       appearance of such person as required and the safety of any other person
       and the community.” 18 U.S.C. § 3142(f)(2) (emphases in original).

United States v. Caldwell, Criminal Action No. 21-181 (CKK), p.5.

       “In general, a court will grant a motion for reconsideration of an
       interlocutory order only when the movant demonstrates: ‘(1) an intervening
       change in the law; (2) the discovery of new evidence not previously
       available; or (3) a clear error in the first order.’ ” Zeigler v. Potter, 555 F.
       Supp. 2d 126, 129 (D.D.C. 2008) (quoting Keystone Tobacco Co., Inc. v. U.S.
       Tobacco Co., 217 F.R.D. 235, 237 (D.D.C. 2003)), aff'd, No. 09-5349, 2010
       WL 1632965 (D.C. Cir. Apr. 1, 2010).

United States v. Caldwell, Criminal Action No. 21-181 (CKK), p.4-5.

       [M]otions for reconsideration “cannot be used as an opportunity to reargue
       facts and theories upon which a court has already ruled, nor as a vehicle
       for presenting theories or arguments that could have been advanced
       earlier.” Estate of Gaither ex rel. Gaither v. District of Columbia, 771 F.
       Supp. 2d 5, 10 (D.D.C. 2011) (internal quotation marks omitted) (quoting
       SEC v. Bilzerian, 729 F. Supp. 2d 9, 14 (D.D.C. 2010)).

United States v. Caldwell, Criminal Action No. 21-181 (CKK), p.5.


1
 On April 26, 2023, agents executed arrest and search warrants on each defendant and their
respective residences. Agents did not obtain any narcotics or firearms from Nava’s residence.
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      Here, the movant (the U.S. Attorneys in California and the District of

Columbia) made the decision to proceed by proffer with certain evidence and

withhold other evidence which now appears in its Emergency Motion. Whether

that decision was based on a belief that the evidence was not needed for detention

or was a conscious decision to withhold evidence in the event the California

district court released Mr. Nava, is of no consequence here. No movant should be

afforded the opportunity to employ such a strategy and have “two bites at the

apple.” It is manifestly unfair to the other party – especially a defendant – and

contrary to the well-settled law cited by this Court in Caldwell. To allow the

United States, “under the guise of an emergency ‘appeal’ … to add facts back in,

effectively converting this into a new detention hearing, not an appeal” should not

be condoned. Memorandum of Law dated April 27, 2023, by the Federal Public

Defender, United States v. Max Torres, Case No. 23-cr-73-CKK. (attached).

      This Court should allow the stay imposed by the Court in the Central

District of California to lapse and allow Raymond Nava to appear with his counsel

before this Court at the appointed time.

                                      Respectfully submitted,

                                      RAYMOND NAVA
                                      By Counsel

                                      /s/ Pleasant S. Brodnax, III    .
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                           CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was filed by CM/ECF on the 27th day of
April 2023, which will send a notification of such filing (NEF) to all counsel of
record.

                                     /s/ Pleasant S. Brodnax, III
                                     Pleasant S. Brodnax, III
